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                                         UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF NEW YORK


              Kane, et al.


                              Plaintiffs,

                                      vs.
                                                               DECLARATION OF

              De Blasio, et al.                                TRINIDAD SMITH

                              Defendants.
                                                               Civil Action No. 1:21-cv-07863



            STATE OF NEW JERSEY                       )
                                                      ) ss.:
            COUNTY OF SUSSEX                          )


                 Trinidad Smith, declares under penalty of perjury, pursuant to 28 U.S.C. § 1746,

            that the following is true:



                 1. I am Trinidad Smith.

                 2. I have been teaching with the NYC DOE in D75 servicing children with

                     Autism. We are a self-contained special education school that only instructs

                     special needs students under one administration. It has become like family to me.

                 3. I have a new mortgage on the home of my dreams for my teenage son. I have

                     only been here two years and losing my career will render me unable to pay my

                     mortgage, car payment and other bills as this is my only source of income and I

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                     am the sole provider for my son. I was adopted from an orphanage in Bogota,

                     Columbia at the age of six, and have been working to provide for my son what I

                     never had.

                 4. I am one of the two senior educators at my site in downtown Brooklyn. I am a

                     cluster teacher who holds the position of adaptive physical education.

                 5. I am confident that a sub will not be able to provide the expertise and safety I

                     provide. I manage two classes and the adult support staff simultaneously while

                     managing all exits to the playground.

                 6. Safety is a top priority for our students some who are nonverbal. My

                     collaboration with the related services such as the physical therapist,

                     occupational therapist and the speech pathologist at my school gives the students

                     the best possible outcomes in our program.

                 7. These are relationships built over a twenty-year time span. A sub will not be able

                     to proceed with the level of confidence and knowledge for what needs to be

                     done! Our program is down one cluster already and will now be down one more

                     cluster with my absence. Contrary to what is being said the DOE does not have

                     subs to draw from. We have experienced a shortage on several occasions. The

                     classroom teachers are then asked to work on their preps which limits their time

                     to prepare to be the best educators possible.

                 8. Due to a shortage in the kitchen staff, the students will be getting cold

                     sandwiches for lunch. At the start of the pandemic the mayor did say that he

                     wanted to keep the schools open and one of the reasons was because this was the

                     only hot meal that some of these students were receiving at school. Is their well-

                     being no longer a priority?

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                 9. When offered I attend professional development workshops as they are a crucial

                     way for educators like myself to stay current and relevant in their classes. New

                     techniques and methods are introduced to help students reach their highest

                     potential.

                 10. I have sincerely held religious beliefs that prevent me from taking a Covid-19

                     vaccine.

                 11. On October 4th I am being asked not to come to work due to refusal of the

                     COVID-19 vaccination! I have been loyal and hard working through the

                     pandemic. I have been working in person with our students since the first day

                     learning resumed at the building.

                 12. My personal relationship with God has guided me in the decisions I’ve always

                     made and continue to make. I was baptized and raised in the church and hold the

                     teachings very close to my heart! For this reason, I have made a personal choice

                     to refrain from the Covid-19 vaccine. I trust my immune system that God gave

                     me as it has protected me from succumbing to Covid-19 in spite of working with

                     students who often unexpectedly expel bodily fluids from themselves.

                 13. Due to the new much harder process for obtaining a religious or medical

                     exemption, I knew it would be impossible for me to be considered for an

                     accommodation. This is not for lack of sincerity in my religious beliefs, but rather

                     on the part of the ones who practically eviscerated religious exemption

                     options. It was designed to discourage the applicants with little to no hope of

                     being heard.

                 14. It is devastating to know that our school will be understaffed for my students on

                     Monday October 4th and any days that follow if this grave injustice is allowed to

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                     continue. Our students thrive on consistency and routines, and now we are failing

                     them by not providing them with what they need and deserve

                 15. These mandates will have a huge negative effect on both students and staff and

                     therefore I implore you to please consider granting us a TRO so we can have a fair

                     and honest opportunity to object these mandates in a court of law!



                                              10/4/2021


                                                                    _______________________

                                                                    Trinidad Smith




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